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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. Case No: 8:22-cr-366-VMC-MRM

EDWARD M. FERRARO

 

NOTICE REGARDING ENTRY OF A
- PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty, the
United States Magistrate Judge is authorized by Rule 1.02 Middle District of Florida Local Rules,
with the consent of the Defendant, to conduct the proceedings required by Rule 11, Fed. R. Crim.
P. incident to the making of a plea. If, after conducting such proceedings, the Magistrate Judge
recommends that the plea of guilty be accepted, a presentence investigation and report will be
ordered pursuant to Rule 32, Fed. R. Crim. P. The assigned United States District Judge will then
act on the Magistrate Judge’s Report and Recommendation and if the plea of guilty is accepted,
will adjudicate guilty and schedule a sentencing hearing at which the District Judge will decide
whether to accept or reject any associated plea agreement and will determine and impose sentence.

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case and I request and consent to
the United States Magistrate Judge conducting the proceeding required by Rule 11, Fed. R. Crim. P.
incident to the making of such plea. I understand that if my plea of guilty is then accepted by the
District Judge, the District Judge will decide whether to accept or reject any plea agreement I may
have with the United States and will adjudicate guilty and impose sentence.

Date: June 14, 2023

LEZ Ae

Defendant Attorney for Defendant
